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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                          Case No. 16-62942-Civ-DIMITROULEAS
   KERRY ROTH, on behalf of herself and
   all others similarly situated,

                Plaintiff,

        vs.
   GEICO GENERAL INSURANCE
   COMPANY; GOVERNMENT
   EMPLOYEES INSURANCE COMPANY;
   GEICO INDEMNITY COMPANY; and
   GEICO CASUALTY COMPANY,

                 Defendants.




                  ORDER APPROVING REPORT OF MAGISTRATE JUDGE

          THIS CAUSE is before the Court on Plaintiff Kerry Roth (“Roth” or “Plaintiff”)’s

   Motion to Amend Judgment Awarding Attorneys’ Fees to Include Prejudgment Interest and

   Postjudgment Interest [DE 335] (the “Motion”), and the Report and Recommendation of

   Magistrate Judge Lurana S. Snow (the “Report”) [DE 341], dated March 27, 2019. The Court has

   conducted a de novo review of the Report [DE 341], Defendant GEICO’s Objections to Report

   and Recommendation [DE 342], Plaintiff’s Response to Defendant’s Objection [DE 343], and

   the record herein. The Court is otherwise fully advised in the premises.

          A party seeking to challenge the findings in a report and recommendation of a United

   States Magistrate Judge must file “written objections which shall specifically identify the

   portions of the proposed findings and recommendation to which objection is made and the

   specific basis for objection.” Macort v. Prem, Inc., 208 F. App’x 781, 783 (11th Cir. 2006)

   (quoting Heath v. Jones, 863 F.2d 815, 822 (11th Cir. 1989)). “It is critical that the objection be
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   sufficiently specific and not a general objection to the report.” Macort, 208 F. App’x at 784

   (citing Goney v. Clark, 749 F.2d 5, 7 (3d Cir. 1984)). If a party makes a timely and specific

   objection to a finding in the report and recommendation, the district court must conduct a de

   novo review of the portions of the report to which objection is made. Macort, 208 F. App’x at

   783-84; see also 28 U.S.C. § 636(b)(1). The district court may accept, reject, or modify in whole

   or in part, the findings or recommendations made by the Magistrate Judge. Macort, 208 F. App’x

   at 784; 28 U.S.C. § 636(b)(1). Accordingly, the Court has undertaken a de novo review of the

   record and the Objections.

          Plaintiff seeks an amendment to the Second Judgment with regard to the award of

   attorney's fees in the amount of $6,352,178.10, representing a lodestar fee amount with a

   contingency risk multiplier of 2. Specifically, Plaintiff requests pre-judgment and post-judgment

   interest on the full amount of the fee awarded. In the Report, Magistrate Judge Snow

   recommends that the undersigned grant the Motion, awarding Plaintiff pre-judgment interest in

   the amount of $340,120.24 and post-judgment interest at the rate of 2.45%. Defendant objects,

   both generally on the ground that the underlying attorneys’ fee award was too high, and

   specifically on the ground that the Court should calculate the prejudgment interest on the lodestar

   fee amount without the multiplier. The Court overrules the Objections. 1

          The Court agrees with the analysis and conclusions set forth in Magistrate Judge Snow’s

   Report. The Court already rejected Defendant’s argument that the attorneys’ fee award was too

   high. Further, applying prejudgment interest to the entire attorneys’ fee award is consistent with

   the law and the Court finds it to be reasonable here.



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     The Court notes that Defendant does not object to the recommendation concerning post-judgment
   interest.
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          For the foregoing reasons, it is ORDERED AND ADJUDGED as follows:

          1.      The Report [DE 341] is hereby APPROVED;

          2.      Defendant’s Objections [DE 342] are OVERRULED;

          3.      Plaintiff’s Motion to Amend Judgment Awarding Attorneys’ Fees to Include

                  Prejudgment Interest and Postjudgment Interest [DE 335] is hereby GRANTED;

          4. Plaintiff is awarded pre-judgment interest in the amount of $340,120.24 and post-

               judgment interest at the rate of 2.45%.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

   this 4th day of May, 2020.




   Copies furnished to:

   Counsel of record
